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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
MICHAEL DARDASHTIAN, individually and                          :
on behalf of COOPER SQUARE VENTURES,                           :
LLC, NDAP, LLC and CHANNELREPLY, LLC, :
                                                               :   17 Civ. 04327 (LLS)
                                             Plaintiffs,       :
                                                               :
         -against-                                             :   RULE 7.1 STATEMENT
                                                               :
DAVID GITMAN, JEREMY FALK,                                     :
SUMMIT ROCK HOLDINGS, LLC,                                     :
ACCEL COMMERCE, LLC,                                           :
DALVA VENTURES, LLC,                                           :
KONSTANTYN BAGAEV,                                             :
OLESKSII GLUKHAREV and                                         :
CHANNEL REPLY, INC.,                                           :
                                                               :
                                             Defendants. :
-------------------------------------------------------------- X

         Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Summit Rock Holdings,

LLC, by and through its undersigned counsel, states that it is not a publicly traded corporation

and that there is no parent corporation or publicly-held corporation that owns 10% or more of its

stock.


Dated: June 30, 2017                                      MORRISON COHEN LLP
       New York, New York
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                                                          Attorneys for Defendants Jeremy Falk
                                                          and Summit Rock Holdings, LLC
